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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-204-TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   JEFFREY S. GRADY,                                   DATE: June 15, 2017
                                                         TIME: 9:30 a.m.
15                                Defendant.             COURT: Hon. Troy L. Nunley
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on June 15, 2017.

21          2.      By this stipulation, the parties now move to continue the status conference until August

22 17, 2017, and to exclude time between June 15, 2017, and August 17, 2017, under Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)     The discovery in this case includes more than 2,000 pages of reports and

25          documents, including a spreadsheet which contain thousands of entries. All of this discovery has

26          been either produced directly to counsel and/or made available for inspection and copying.

27                  b)     Counsel for defendant desires additional time to review the evidence and discuss

28          potential resolution of the case with the defendant.


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 1                  c)      Counsel for defendant believes that failure to grant the above-requested

 2          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)      The government does not object to the continuance.

 5                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of June 15, 2017 to August 17, 2017,

10          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11          because it results from a continuance granted by the Court at defendant’s request on the basis of

12          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13          of the public and the defendant in a speedy trial.

14          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

18

19
     Dated: June 14, 2017                                     PHILLIP A. TALBERT
20                                                            United States Attorney
21
                                                              /s/ MATTHEW G. MORRIS
22                                                            MATTHEW G. MORRIS
                                                              Assistant United States Attorney
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24
     Dated: June 14, 2017                                     /s/ GREG FOSTER
25                                                            GREG FOSTER
26                                                            Counsel for Defendant
                                                              JEFFREY S. GRADY
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 2                                      FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 14th day of June, 2017.

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 7                                            THE HONORABLE TROY L. NUNLEY
                                              UNITED STATES DISTRICT JUDGE
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     STIPULATION REGARDING EXCLUDABLE TIME      3
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